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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        Case No. 18-24532-Civ-COOKE/GOODMAN

 JOSE ANTONIO GOVANTES and all others
 similarly situated under 29 U.S.C. 216(b),

        Plaintiff,

 vs.

 UNLIMITED HEIGHTS SCAFFOLD
 SERVICES, LLC,
 RICARDO MARTINEZ,
 JANETTE MARTINEZ,

       Defendants.
 ____________________________________/
                       ORDER OF REFERRAL AND
           ORDER REGARDING COURT PRACTICES AND PROCEDURES
        THIS MATTER came before the Court upon the filing of the Complaint, which the
 Court has reviewed. To efficiently, expeditiously, and economically resolve this dispute, it is
 ORDERED as follows:
 I.     COURT-MANDATED REQUIREMENTS IN FLSA-BASED CASES
        Plaintiff filed an action under the Fair Labor Standards Act, as amended, 29 U.S.C.
 §201 et seq. (“FLSA”), by which the Plaintiff seeks unpaid wages. To assist the Court in the
 management of the case, the Plaintiff is ORDERED to file with the Court a statement of
 claim setting forth the amount of the alleged unpaid wages, the calculation of such wages,
 and the nature of the wages (e.g. overtime or regular) within twenty-one (21) days from the date
 of this Order. Also within that allotted time, the Plaintiff shall serve a copy of this Order, the
 statement of claim, and copies of all documents supporting the claim (e.g. time slips, pay stubs) on
 the Defendant’s counsel. The Plaintiff shall, on that same date, additionally file a notice of
 full compliance with this Order.
        The Defendant, within fourteen (14) days of service of the Plaintiff’s statement of claim, is
 ORDERED to file with this Court a response to the Plaintiff’s statement, and provide the
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 Plaintiff with copies of all documents supporting its defenses. Concurrently, the Defendant
 shall file a notice of full compliance with this Order.
           The Parties are hereby advised that this case will be on the Court's FLSA expedited-
 track calendar pursuant to which trial shall be set nine (9) months after the Plaintiff files the
 required statement of claim. Furthermore, barring the most extreme of compelling
 circumstances, the Court will not grant any motions for a continuance and/or extensions of time.
           Failure to comply with this Order may result in default, dismissal, and/or sanctions.
 II.       EXPEDITED SERVICE
           It is hereby ORDERED and ADJUDGED that, in an attempt to expedite the
 processing of the action, Plaintiff shall serve the Defendant with a copy of the summons and
 complaint within sixty (60) days of the date of this Order. If Plaintiff is unable to do so,
 Plaintiff shall provide an explanation to the Court as to the reason why Defendant has not
 been served within the allotted sixty days and shall provide a detailed description of the
 attempts he has made to serve Defendant. It is further ORDERED and ADJUDGED that
 failure to comply with this Order may lead to immediate dismissal of this cause.
 III.      REFERRAL OF CASE TO MAGISTRATE JUDGE
           This case is REFERRED to the Honorable Jonathan Goodman, United States
 Magistrate Judge for the Southern District of Florida, for appropriate resolution of all non-
 dispositive pretrial matters, as well as motions for attorney’s fees and costs and motions for
 sanctions, in accordance with 28 U.S.C. §§ 636(b)(1)(A) and (B). Motions in Limine and any
 motion affecting deadlines set by the Court's Scheduling Order are excluded from this referral,
 unless specifically referred by separate order.
           The Parties are notified that all subsequent pleadings bearing on matters referred to
 the Magistrate Judge shall be so designated by setting forth beneath the case number the
 identity of the Magistrate Judge to which the matter has been referred and the date of the
 Order of Reference. Parties must also abide by Magistrate Judge Goodman’s Discovery
 Procedures Order appended to this Order.
 IV.       NOTICE OF JOINT MOTIONS
           The parties are hereby notified that multiple Plaintiffs or Defendants shall file joint
 dispositive motions with co-parties unless there are clear conflicts of positions or grounds for
 relief.
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         DONE and ORDERED in chambers, Miami, Florida, this 5th day of November
 2018.




 Copies furnished to:
 Jonathan Goodman, U.S. Magistrate Judge
 Counsel of record
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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       Case No. 18-24532-Civ-COOKE/GOODMAN

 JOSE ANTONIO GOVANTES and all others
 similarly situated under 29 U.S.C. 216(b),

         Plaintiff,

 vs.

 UNLIMITED HEIGHTS SCAFFOLD
 SERVICES, LLC,
 RICARDO MARTINEZ,
 JANETTE MARTINEZ,

       Defendants.
 ____________________________________/
       MAGISTRATE JUDGE GOODMAN’S DISCOVERY PROCEDURES ORDER

         The following discovery procedures apply to all civil cases in which discovery is
 referred to United States Magistrate Judge Jonathan Goodman and where Judge Goodman
 is presiding over a case with full consent.

 OVERALL STATEMENT

         The Court designed these procedures to help the Parties and the Court work together
 to timely resolve discovery disputes without undue delay and unnecessary expense. The
 procedures are designed to (1) promote the timely internal resolution of discovery disputes
 by the parties themselves so that they have no need to seek judicial intervention, (2) help the
 parties obtain timely rulings to the extent they cannot on their own resolve their discovery
 disputes, (3) streamline the process of resolving discovery disputes by eliminating
 unnecessary motion practice, and (4) assist the Court by prohibiting the submission of
 motions and memoranda which are unnecessary, overly long or both.

 MEET AND CONFER

        Counsel must actually confer (in person or via telephone) and engage in reasonable
 compromise in a genuine effort to resolve their discovery disputes before filing a notice of a
 discovery hearing. In other words, there must be an actual conversation before a discovery
 hearing notice is filed. If counsel refuses to participate in a conversation, then the party
 seeking to a discovery hearing shall so state in the required certificate of conference and
 outline the efforts made to have a conversation.
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         The Court may impose sanctions, monetary or otherwise, if it determines discovery
 is being improperly sought, is being withheld in bad faith or if a party fails to confer in good
 faith. Sending an email or telefax to opposing counsel with a demand that a discovery
 response or position be provided on the same day will rarely, if ever, be deemed a good faith
 effort to confer before filing a discovery hearing notice.

 DISCOVERY CALENDAR AND NO DISCOVERY MOTIONS

        No written discovery motions, including motions to compel, for protective order, or
 related motions for sanctions shall be filed unless specifically authorized by the Court. 1
 Similarly, the parties may not submit legal memoranda concerning a discovery hearing
 unless the Undersigned specifically authorizes it. This procedure is intended to minimize the
 need for discovery motions. The Court will strike any unauthorized discovery motions and
 memoranda.

        If, after conferring, the parties are unable to resolve their discovery disputes without
 Court intervention, then the Court holds a regular discovery calendar every Friday
 afternoon. The party seeking the discovery hearing shall contact Chambers at (305) 523-
 5720 to place the matter on the next available discovery calendar. That party will be
 provided with available dates and will then confer with opposing counsel and confirm his or
 her availability for the discovery calendar. Once opposing counsel has confirmed
 availability, the party seeking the hearing will contact Chambers again to finalize the
 hearing date. [NOTE: The longer a party waits to contact Chambers to follow through after
 being provided with available times, the more likely it is that the hearing date will no longer
 be available. Therefore, the Court encourages parties seeking discovery hearings to follow
 through on a timely basis and confirm the hearing date.].

         On the same day that Chambers confirms that the matter is being placed on the
 discovery calendar, the party seeking the discovery hearing shall provide notice to all
 relevant parties by filing a Notice of Hearing and serving a copy on opposing counsel
 through the Court’s electronic docketing system. The Notice of Hearing shall briefly and
 succinctly identify the substance of the discovery matter to be heard. (For example, “The
 Parties dispute the appropriate time frame for Plaintiff’s Interrogatory Nos. 1, 4-7, and 10”
 or “The Parties disagree about whether Defendant produced an adequate 30(b)(6) witness
 on the topics listed in the notice.”) Ordinarily, no more than twenty (20) minutes per side
 will be permitted. The party scheduling the hearing shall include in this Notice of Hearing
 a certificate of good faith that complies with Southern District of Florida Local Rule
 7.1(a)(3). The Court will strike hearing notices which do not include a sufficient local rule
 certificate.

 1
         Nevertheless, if the parties wish to submit an agreed-upon discovery order, such as a
 standard confidentiality-type of protective order, then they shall (1) file a Notice of Proposed
 Stipulated Order with the proposed order attached to the notice and (2) submit a Word-
 version      courtesy       copy      to      the     Undersigned’s       CM/ECF         mailbox
 (goodman@flsd.uscourts.gov). This Order does not prohibit that submission because there
 is not a discovery dispute; instead, there is an agreement about a discovery issue.
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         The party who scheduled the discovery hearing shall provide the Court a copy of all
 source materials relevant to the discovery dispute, via hand-delivery or through a document
 that is emailed to the CM/ECF mailbox (goodman@flsd.uscourts.gov) on the date that the
 Notice of Hearing is filed. (For example, if the dispute concerns interrogatories, then the
 interrogatories at issue and the responses thereto, shall be provided.) Source material is the
 actual discovery at issue. Source material is not memoranda or letters to the Court which
 are, for all intents and purposes, a mini-brief. The opposing party may submit additional
 source material to the CM/ECF mailbox, as well.

         Neither the Notice of Hearing nor the source materials should be used as a de facto
 strategy to submit a memorandum. For example, sending multi-page, rhetoric-filled letters
 to the Court or filing argument-riddled notices are specifically prohibited. The Court will
 strike letters, notices, and exhibits which are designed to circumvent the no motion/no
 memoranda policy.

         If one or more of the parties believe in good faith that the discovery dispute is not a
 routine, garden-variety dispute and needs specialized attention, then the parties may include
 a to-the-point, no-more-than-one-paragraph explanation in the Notice of Hearing, to flag the
 specific issues. In addition, the parties may submit a “notice of authorities,” which will list
 only the authorities, but which will not contain argument or be a disguised memorandum.
 At most, the list of authorities may contain a one-sentence, objective summary of the
 relevant holding of each case or authority. The Court will strike any non-compliant notice of
 authorities.

         For those discovery disputes which are particularly complex (and there are not many
 of those) and which a party believes will require briefing, a motion for leave to file a
 discovery motion or memoranda may be filed. The motion should briefly explain the
 extraordinary need, but the actual discovery motion or memorandum should not be
 attached or filed unless the Court grants the motion seeking leave. The Court anticipates
 that the need for motions and/or memoranda will arise only rarely.

        The following topics are illustrations of discovery disputes which are usually not rare
 enough to bypass the standard no-motion policy and therefore would not ordinarily justify a
 motion for leave to file a discovery motion in a specific case absent extraordinary
 circumstances: (1) whether a party may take more than 10 depositions in the absence of
 consent; (2) whether a deposition may last more than 7 hours; (3) how a seven-hour
 deposition is allocated among the parties; (4) whether a 30(b)(6) witness was prepared to
 provide binding testimony on all the topics listed in the notice; (5) whether a noticed
 deposition is an “apex” deposition, and, if so, whether it will be permitted; (6) whether a
 party needs to arrange for a treating doctor to provide an expert witness report or if the party
 needs to make other written disclosures if the physician is expected to testify about the cause
 of an injury; (7) squabbles over the location of a deposition; (8) whether an attorney
 improperly instructed a deponent to not answer certain questions; (9) whether an attorney
 was improperly coaching a deponent; (10) whether a party or attorney may pay any money
 to a deponent or trial witness other than a standard witness fee, and, if so, under what
 circumstances and in what amounts; (11) whether a party may take “early” discovery; (12)
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 whether a party exceeded the number of permissible interrogatories (and how should the
 sub-parts be counted); (13) whether an interrogatory answer is adequate or whether better
 answers are required; and (14) whether a party engaged in a strategically unfair “document
 dump” which makes it difficult for a party to know which documents are responsive to a
 request. These are all routine discovery disputes which require the submission of only the
 Notice of Hearing, source material and, at most, an argument-free list of authorities.

         The Court expects all parties to engage in reasonable compromise to facilitate the
 resolution of their discovery disputes. The Court may impose sanctions, monetary or
 otherwise, if the Court determines discovery is being improperly sought or is being withheld
 in bad faith.

        These procedures do not relieve parties from the requirements of any Federal Rules
 of Civil Procedure or Local Rules, except as noted above.

 PRE-HEARING DISCUSSIONS

          The mere fact that the Court has scheduled a discovery hearing/conference does
 not mean that the parties should no longer try to resolve the dispute. To the contrary, the
 parties are encouraged to continually pursue settlement of disputed discovery matters. If
 those efforts are successful, then counsel should contact Chambers as soon as practicable so
 that the hearing can be timely canceled. Alternatively, if the parties resolve some, but not
 all, of their issues before the hearing, then counsel shall also timely contact Chambers and
 provide notice about those issues which are no longer in dispute (so that the Court and its
 staff do not unnecessarily work on matters no longer in dispute).

 EXPENSES, INCLUDING ATTORNEY’S FEES

        The Court reminds the parties and counsel that Federal Rule of Civil Procedure
 37(a)(5) requires the Court to award expenses, including fees, unless an exception (such as
 the existence of a substantially justified, albeit losing, discovery position) applies to the
 discovery dispute and ruling.

 NO BOILERPLATE DISCOVERY OBJECTIONS

                      “Vague, Overly Broad and Unduly Burdensome”

        Parties shall not make conclusory boilerplate objections. Such objections do not
 comply with Local Rule 26.1(e)(2)(A), which provides that, “[w]here an objection is made
 to any interrogatory or sub-part thereof or to any production request under Federal Rule of
 Civil Procedure 34, the objection shall state with specificity all grounds.” Blanket,
 unsupported objections that a discovery request is “vague, overly broad, or unduly
 burdensome” are, by themselves, meaningless, and the Court will disregard such objections.
 A party objecting on these bases must explain the specific and particular ways in which a
 request is vague, overly broad, or unduly burdensome. See Fed. R. Civ. P. 33(b)(4) (the
 ground for objecting to an interrogatory “must be stated with specificity”); Josephs v. Harris
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 Corp., 677 F.2d 985, 992 (3d Cir. 1982) (“the mere statement by a party that the
 interrogatory was ‘overly broad, burdensome, oppressive and irrelevant’ is not adequate to
 voice a successful objection to an interrogatory.”). Testimony or evidence may be necessary
 to show that a particular request is in fact burdensome.

        “Irrelevant or Not Reasonably Calculated to Lead to Admissible Evidence”

          An objection that a discovery request is irrelevant or “not reasonably calculated to
 lead to admissible evidence” is an outdated type of objection, as that language no longer
 defines the scope of discovery under Federal Rule of Civil Procedure 26(b)(1). The current
 version defines the scope of discovery as being “nonprivileged matter that is relevant to any
 party’s claim or defense and proportional to the needs of the case” -- and then lists several
 factors to analyze. The Court reminds the parties that the Federal Rules provide that
 information within this scope of discovery “need not be admissible in evidence” to be
 discoverable. See Fed. R. Civ. P. 26(b)(1); S. D. Fla. L. R. 26.1(g)(3)(A); Oppenheimer Fund,
 Inc. v. Sanders, 437 U.S. 340, 351-52 (1978).

                                  No Formulaic Objections

        Parties should avoid reciting a formulaic objection followed by an answer to the
 request. It has become common practice for a party to object on the basis of any of the
 above reasons, and then state that “notwithstanding the above,” the party will respond to
 the discovery request, subject to or without waiving such objection. Such a boilerplate
 objection and answer preserves nothing, and constitutes only a waste of effort and the
 resources of both the parties and the Court. Further, such practice leaves the requesting
 party uncertain as to whether the responding party fully answered. Moreover, the Federal
 Rules of Civil Procedure now specifically prohibit that practice (which was deemed
 inappropriate by many judges and commentators). For example, Federal Rule of Civil
 Procedure 34(b)(2)(C) now provides that an objection to a request for documents “must
 state whether any responsive materials are being withheld on the basis of that objection.” In
 addition, it also says that “an objection to part of a request must specify the part and permit
 inspection of the rest.” Therefore, counsel should specifically state whether the responding
 party is fully answering or responding to a request and, if not, specifically identify the
 categories of information that have been withheld on an objection-by-objection basis.

                               Objections Based upon Privilege

         Generalized objections asserting attorney-client privilege or the work product
 doctrine also do not comply with the Local Rules. S. D. Fla. L. R. 26.1(e)(2)(B) requires
 that objections based upon privilege identify the specific nature of the privilege being
 asserted, as well as identify details such as the nature and subject matter of the
 communication at issue, the sender and receiver of the communication and their
 relationship to each other. Parties must review this Local Rule carefully, and refrain from
 objections in the form of: “Objection. This information is protected by attorney/client
 and/or work product privilege.” The Local Rule also requires the preparation of a privilege
 log except for “communications between a party and its counsel after commencement of the
 action and work product material created after commencement of the action.”
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      DONE AND ORDERED in Chambers, in Miami, Florida, this 5th day of
 November 2018.




 Copies Furnished to:
 The Honorable Marcia G. Cooke
 All counsel of record
